  Case 1:20-cv-04438-DLC Document 64-1 Filed 12/01/20 Page 1 of 5




                      Exhibit no. 1
Preamble (paragraph b) and Articles 7 and 20
       of the Lebanese Constitution
        Case 1:20-cv-04438-DLC Document 64-1 Filed 12/01/20 Page 2 of 5




Preamble (paragraph b) and Articles 7 and 20 of the Lebanese Constitution

Preamble:

b. (…) Lebanon is also a founding and active member of the United Nations Organization and
abides by its covenants and by the Universal Declaration of Human Rights. The State shall
embody these principles in all fields and areas without exception.

Article 7:

All Lebanese shall be equal before the law. They shall equally enjoy civil and political rights and
shall be bound equally by public obligations and duties without any distinction.

Article 20:

Judicial power shall be exercised by courts of various degrees and jurisdictions. It shall function
within the limits of an order established by the law and offering accordingly the necessary
guarantees to judges and litigants. The law shall determine the conditions and limits of judicial
guarantees. Judges shall be independent in the exercise of their tasks. (…).
Case 1:20-cv-04438-DLC Document 64-1 Filed 12/01/20 Page 3 of 5
Case 1:20-cv-04438-DLC Document 64-1 Filed 12/01/20 Page 4 of 5
Case 1:20-cv-04438-DLC Document 64-1 Filed 12/01/20 Page 5 of 5
